Case 2:19-cr-00877-CCC Document 235 Filed 03/07/22 Page 1 of 1 PageID: 3849



                                                             U.S. Department of Justice

                                                             United States Attorney
                                                             District of New Jersey

__________________________________________________________________________________________________________________

                                                             970 Broad Street, 7th floor                       973-645-2700
                                                             Newark, New Jersey 07102




                                                             March 7, 2022


Honorable Claire C. Cecchi, U.S.D.J.
Martin Luther King Federal Building and Courthouse
50 Walnut Street
Newark, New Jersey 07102

                 Re:      United States v. Goettsche et al., Crim. No. 19-877

Dear Judge Cecchi:

              Please find attached a STIPULATION AND MODIFICATION OF
POST INDICTMENT RESTRAINING ORDER (purchase of Hard Fork Holdings
Inc.’s interest in Cryptowatt Mining, LLC and Cryptowatt Investment Partners,
LLC) for the Court’s consideration and endorsement.


                                                             Respectfully yours,

                                                             Philip R. Sellinger
                                                             United States Attorney

                                                             s/ Joseph N. Minish

                                                    By:      Joseph N. Minish
                                                             Assistant U.S. Attorney
